Case 1:22-cv-00697-RGA-JLH Document 17 Filed 08/01/22 Page 1 of 2 PageID #: 147




                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF DELAWARE

REGENERON PHARMACEUTICALS, INC.                   )
                                                  )
              Plaintiff,                          )         C. A. No.: 22-00697-RGA-JLH
                                                  )
                           v.                     )         JURY TRIAL DEMANDED
                                                  )
AMGEN INC.,                                       )
                                                  )
              Defendant.                          )

 DEFENDANT AMGEN INC.’S MOTION TO DISMISS UNDER FED. R. CIV. P. 12(b)(6)

        Defendant Amgen Inc. (“Amgen”), by and through the undersigned attorneys, moves to

 dismiss Plaintiff Regeneron Pharmaceuticals, Inc.’s Complaint (D.I. 1) for failure to state a claim

 upon which relief could be granted under Fed. R. Civ. P. 12(b)(6). The grounds for this motion

 are set forth in the Opening Brief of Defendant Amgen Inc. in Support of its Motion to Dismiss

 filed contemporaneously herewith. A form of Order is attached.
Case 1:22-cv-00697-RGA-JLH Document 17 Filed 08/01/22 Page 2 of 2 PageID #: 148




                               YOUNG CONAWAY STARGATT & TAYLOR, LLP

                               /s/ Melanie K. Sharp
                               ____________________________________________
                               Melanie K. Sharp (No. 2501)
                               James L. Higgins (No. 5021)
                               Taylor E. Hallowell (No. 6815)
                               1000 North King Street
                               Wilmington, DE 19801
                               (302) 571-6600
                               msharp@ycst.com
                               jhiggins@ycst.com
                               thallowell@ycst.com

                               GIBSON, DUNN & CRUTCHER LLP
                               Eric J. Stock
                               Ben A. Sherwood
                               200 Park Avenue
                               New York, NY 10166-0193
                               (212) 351-4000

                               Stephen Weissman
                               Richard G. Parker
                               1050 Connecticut Avenue, N.W.
                               Washington, DC 20036-5306
                               (202) 955-8500

                               Ashley E. Johnson
                               2001 Ross Avenue, Suite 2100
                               Dallas, TX 75201
                               (214) 698-3100

 Dated: August 1, 2022         Attorneys for Amgen Inc.
